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                                        UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF COLUMBIA

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UNITED STATES OF AMERICA                                       :

       - v. -                                                  :

EDWARD FRANCISCO RODRIGUEZ,                                    :       21-CR-483 (DLF)

          Defendant.                                           :

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                             MR. RODRIGUEZ’S RESPONSE TO THE
                          GOVERNMENT’S SENTENCING MEMORANDUM




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    I.       Introduction

          Mr. Rodriguez submits the instant supplemental objections to the final pre-sentence report

(“PSR”), disclosed on October 30, 2023, see ECF No. 59, and responds to the government’s sentencing

memorandum. See ECF No. 62. For the reasons set forth below, Mr. Rodriguez respectfully reiterates

his request that the Court grant his objections to the PSR and impose a probationary sentence.




    II.      Supplemental Objections to the Pre-Sentence Report

          Mr. Rodriguez reiterates his prior objections to the pre-sentence report and asks that the Court

resolve each. He also submits the below supplemental objections, pursuant to Federal Rule of Criminal

Procedure 32(f). Pursuant to Federal Rule of Criminal Procedure 32(i)(3)(B), the Court “must—for

any disputed portion of the presentence report or other controverted matter—rule on the dispute or

determine that a ruling is unnecessary either because the matter will not affect sentencing, or because

the court will not consider the matter in sentencing.” Unlike undisputed portions of the presentence

report, the Court cannot simply accept the disputed portion as true.
             a. Serious bodily injury

          Mr. Rodriguez objects to the application of a five-level enhancement for serious bodily injury

pursuant to § 2A2.2(b)(3)(B), requested by the government and recommended in the final PSR, for

the reasons discussed in greater detail below. See Section III(c).
             b. Restitution
          Federal courts may order restitution only when statutes authorize restitution. United States v.

Papagno, 639 F.3d 1093, 1096 (D.C. Cir. 2011). “The loss caused by the conduct underlying the offense

of conviction establishes the outer limits of a restitution order.” Hughey v. United States, 495 U.S. 411,

420 (1990). Restitution as authorized by statute is intended to compensate victims only for the losses

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caused by the conduct underlying the offense of conviction. Id. at 417 (emphasis added). The Supreme

Court held that statutes “authorize an award of restitution only for the loss caused by the specific conduct

that is the basis of the offense of conviction.” Id. at 413; see also United States v. Dorcely, 454 F.3d 366, 377

(D.C. Cir. 2006).

           Mr. Rodriguez objects to the Office of Probation’s recommendation of $2,000 in restitution.

He pled guilty to one count of assault on a federal officer, in violation of 18 U.S.C. § 111(a) and (b).

He did not enter the Capitol, damage any property, or act in concert with anyone who did so. No

records have been provided by the government related to any other loss amount and the PSR offers

no explanation for how it arrived at the calculation of $2,000. The Court should accordingly decline

to impose restitution.

    III.      Responses to the Government’s Sentencing Memorandum

              a. The Court should apply § 2A2.4 because Mr. Rodriguez’s conduct does not
                 constitute an “aggravated assault,” as defined in the commentary to § 2A2.2.

           As discussed in Mr. Rodriguez’s sentencing memorandum, see Def. Sent. Memorandum, ECF

No. 65 at 20-33, the cross-reference to § 2A2.2 applies only if a defendant’s conduct constituted

“aggravated assault.” U.S.S.G. § 2A2.4(c)(1). “Aggravated assault” is defined as “a felonious assault

that involved (A) a dangerous weapon with intent to cause bodily injury (i.e., not merely to frighten)

with that weapon; (B) serious bodily injury; (C) strangling, suffocating, or attempting to strangle or

suffocate; or (D) an intent to commit another felony.” U.S.S.G. § 2A2.2, cmt. n.1.

           In its sentencing memorandum, the government asserts for the first time that Mr. Rodriguez’s

conduct meets the definition of “aggravated assault” under § 2A2.2 because he acted with “intent to

commit another felony,” specifically a violation of 18 USC § 231. See Gov’t Sent. Memo. ECF No. 62

at 34-35. Alternatively, the government argues, § 2A2.2 applies because Mr. Rodriguez used a

dangerous weapon with intent to commit bodily injury and because his actions resulted in serious

bodily injury. Id.

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       But the government has failed to establish by a preponderance of the evidence, let alone by

clear and convincing evidence,1 that Mr. Rodriguez’s conduct meets any of these definitions of

“aggravated assault.” Because Mr. Rodriguez previously addressed the inapplicability of § 2A2.2 under

§ 2A2.2 Application Note 1, Section (A) in his sentencing memorandum, id. at 20-36, he addresses the

government’s new arguments that Mr. Rodriguez’s conduct qualifies as an aggravated assault under

Sections (B) and/or (D).
           b. U.S.S.G. § 2A2.2 does not apply because Mr. Rodriguez did not intend to
              commit another felony.

       The government asserts, without elaboration, that “the cross-reference applies because

Rodriguez acted with “intent to commit another felony,” namely, obstructing, interfering, and

impeding law enforcement officers engaged in the performance of their official duties during a civil

disorder, under 18 U.S.C. § 231, as alleged in Count One of the Superseding Indictment, ECF No.

28.” ECF No. 62 at 35.

       The Court should reject this argument for two reasons. First, the government relies upon the

same exact conduct underlying Mr. Rodriguez’s § 111 plea to support his intent to commit § 231. The

same exact conduct cannot support a finding that Mr. Rodriguez intended to commit “another felony.”

Second, the government has not established the requisite mens rea for a violation of § 231 by a

preponderance of the evidence, let alone clear and convincing evidence.

       As the Court is aware, Mr. Rodriguez pled guilty, without a plea agreement, to Count Two of

the Superseding Indictment, which charges him with violation 18 U.S.C. § 111(a) and (b). He did not

admit to, nor was he convicted of another felony. However, the government argues Mr. Rodriguez’s

conduct constituted “aggravated assault” because he acted “with intent to commit another felony.”

ECF No. 62 at 35. Unlike other January 6th defendants, Mr. Rodriguez’s conduct is limited to a single,


1
  Mr. Rodriguez continues to encourage the Court hold the government to a clear and convincing
standard, rather than preponderance of the evidence standard, when it comes to establishing that
Mr. Rodriguez’s conduct constituted an “aggravated assault.” See Def. Sent. Memo., ECF No. 65 at
21-22. But because the government has not even established certain sentencing factors by a
preponderance of the evidence, he references that standard throughout this filing.
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discrete, five-second act. After releasing the chemical spray, Mr. Rodriguez left the Capitol grounds;

he did not breach the police barricade, enter the Capitol, engage in further assaults, or commit any

other felony conduct.
                       1. The same exact conduct that supports Mr. Rodriguez’s § 111(a) and
                          (b) conviction cannot serve as the basis for his intent to commit
                          “another felony.”

        The Guidelines provide for the application of § 2A2.2 in circumstances where a defendant

commits an assault with the intent to commit another felony. The Guidelines do not define “another

felony” for purposes of the § 2A2.4 cross-reference. But both the plain language of the Guideline and
ordinary interpretation support a finding that “another felony” must be based on separate felony

conduct, distinct from the exact same facts underpinning the assault for which Mr. Rodriguez is being

sentenced.

        Section 2K2.1 also offers insight into the Sentencing Commission’s understanding of what

constitutes “another felony.” Section 2K2.1(b)(6)(B) provides for an enhancement if a defendant

“used or possessed any firearm or ammunition in connection with another felony offense; or

possessed or transferred any firearm or ammunition with knowledge, intent, or reason to believe that

it would be used or possessed in connection with another felony offense.” U.S.S.G. § 2K2.1(b)(6)(B)

(emphasis added). For purposes of that section, “another felony offense” is defined as “any federal,

state, or local offense, other than the explosive or firearms possession or trafficking offense, punishable by

imprisonment for a term exceeding one year, regardless of whether a criminal charge was brought, or

a conviction obtained.” U.S.S.G. § 2K2.1, cmt. n.14(C) (emphasis added). In other words, “another”

is defined to mean an offense distinct from the substantive firearms offense for which the person is

being sentenced, consistent with its ordinary interpretation.

        On the facts here, a violation of 18 U.S.C. § 231 is not “another felony.” The government

relies on the same facts that support Mr. Rodriguez’s § 111(a) and (b) plea to support a § 231 offense.

Judge Amy Berman Jackson rejected the government’s argument that a violation of § 111(a)(1) based




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on the same conduct underlying a defendant’s § 231 conviction constituted “another felony,”

observing,
        [T]here's no reason to believe that this is meant to be based on just the hypertechnical
        alignment of elements. Because when the guideline, at least in the gun context, tells
        you, well, you'd use the guideline for that offense instead of the firearms offense, it
        seems clear that it means something other than another gun possession offense. And
        it seems that the government's approach strips the provision of any meaning.

        It strikes me that if the Commission is asking: Did you commit the assault with the
        intent to commit some other offense? it didn't mean with the intent to commit that
        exact same assault, just charged differently. They could have easily defined "another
        offense" as any offense with any different elements that's a different offense, but they
        didn't.


        It's also important to note that the cross reference says you go to aggravated assault if
        the assault on the police officer involved the intent to commit another felony, not the
        same intent needed to satisfy the elements of another felony, not that it was committed
        during the commission of another felony. This suggests that the guideline is meant to
        cover just the situation in the cases that you cited, where the assault on the police
        officer is intended to facilitate or further or advance or succeed in the commission of
        or evasion of apprehension for a second, different crime.

Exh, J, United States v. Hamner, 21-CR-689 (ABJ), Sent. Tr. at 20-21.

        Judge Jackson notes that “the reason this is important” is that application of “the guidelines

specifically designated or an assault on officers, § 2A2.4,” establishes a base offense level of 10 and

even with a two-level enhancement for bodily injury and a (disputed) three-level dangerous weapon

enhancement, the total offense level is only 15; 13 after accounting for acceptance of responsibility.

Id. at 21. In contrast, applying § 2A2.2 sets a base offense level of 14, adds a three-level increase for the

same bodily injury, a (disputed) four-level enhancement for use of the same dangerous weapon, and

provides for both a two-level enhancement because Mr. Rodriguez pled to a violation of § 111(b)

rather than § 111(a) and a six-level enhancement under § 3A1.2 for an official victim—a total offense

level of 29; 26 after accounting for acceptance of responsibility. As Judge Jackson acknowledged,




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“you’ve got two guideline calculations for the same set of facts” that result in dramatically different

Guidelines ranges.2 Id. at 23. Here, 6-12 months,3 as compared to 63-78 months.4

        Given the significant and dramatic difference in sentencing exposure, Judge Jackson found

that “at best, the cross reference is ambiguous. And under such circumstances the Rule of Lenity

requires the adoption of the definition that favors the defendant.”5 Tr. at 24. The Court should

similarly find that the discrete, five-second spraying incident that underlies Mr. Rodriguez’s § 111

conviction cannot be the basis for his intent to commit “another felony,” under § 2A2.2.
                      2. The government has not established that Mr. Rodriguez had the
                         intent to violate 18 U.S.C. § 231 by a preponderance of the evidence.

        A violation of § 231 requires a showing that “the defendant knowingly committed an act or

attempted to commit an act with the intended purpose of obstructing, impeding, or interfering with law

enforcement officers.” See United States v. Celentano, 22-CR-186 (TJK), Jury Instructions, Interference

with Officers During a Civil Disorder, ECF No. 64 at 13. The government has not proved this element

by a preponderance of the evidence.




2
  The dramatic difference in Guidelines ranges Judge Jackson observed result from application of
2A2.2 and 2A2.4 to the same exact facts supports Mr. Rodriguez’s argument that the Court should
require the government to establish an “aggravated assault” by clear and convincing evidence, not
just a preponderance. See United States v. Hymas, 780 F.3d 1285, 1290 (9th Cir. 2015).
3
  If the Court were to apply the three-level dangerous weapon enhancement under § 2A2.4, the
Guidelines range would be 12-18 months.
4
  If the Court were to apply the five-level enhancement for serious bodily injury requested by the
government under § 2A2.2, the Guidelines range would be even higher—78-97 months.
5
  This language appears in the commentary to § 2A2.2, not the Guideline itself. As the Court is
aware, the commentary to the Sentencing Guidelines is not accorded the full force of the guideline,
but rather is considered as “an agency’s interpretation of its own legislative rule.” Stinson v. United
States, 508 U.S. 36, 44 (1993). In this Circuit, it is well-established that the Sentencing Guideline’s
application notes do not qualify for deference under Stinson if they “expand[] rather than interpret[]
the Guideline.” United States v. Winstead, 890 F.3d 1082, 1091 (D.C. Cir. 2018). Further, as the
Supreme Court made clear in a recent decision, there are important limits to the deference courts
give to an agency’s interpretation of its own rules. See generally Kisor v. Wilkie, 139 S. Ct. 2400, 2414-
2418 (2019). Under Kisor, the Court should exhaust all the “traditional tools” of construction,
including consideration of the text, structure, history and purpose of the regulation where Guideline
commentary is genuinely ambiguous.
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        In sum, because (1) the government has not—and cannot—established Mr. Rodriguez’s intent

to cause bodily injury, (2) the government’s circular and over-technical logic does not support Mr.

Rodriguez’s intent to commit “another felony,” and (3) the government has not established serious

bodily injury, the Court should calculate his Guidelines under § 2A2.4 and reject the government’s

request to apply the § 2A2.4(c)(1) cross-reference.

            c. U.S.S.G. § 2A2.2 does not apply because there was no serious bodily injury.

        For the first time since Mr. Rodriguez’s arrest on July 9, 2021, the government indicated in an

October 24, 2023 letter to the Office of Probation that they believe Mr. Rodriguez’s actions on January

6th caused “serious bodily injury,” not just bodily injury. “Bodily injury” is defined as “any significant

injury; e.g., an injury that is painful and obvious, or is a type for which medical attention ordinarily

would be sought.” USSG § 1B1.1, comment. (n.1(B)). In contrast, “serious bodily injury” covers

assaults that inflict “injury involving extreme physical pain or the protracted impairment of a function

of a bodily member, organ, or mental faculty; or requiring medical intervention such as surgery,

hospitalization, or physical rehabilitation.” § 1B1.1(M).

        Mr. Rodriguez acknowledges that his conduct resulted in bodily injury. But nothing the

government has presented supports a finding of serious bodily injury. Notably, the government

discusses many of the officers’ injuries in general, collective terms. See, e.g., ECF No. 62 at 21. Even

more critically, the only three officers who sought any medical attention at all, Officers P.N., J.R.,

M.B.,6 did so as a result of either injuries entirely unrelated to Mr. Rodriguez’s conduct and/or injuries

resulting from the cumulative violence they experienced on January 6th.




6
 It is unclear whether Officer M.B. actually sought any medical treatment related to injuries
sustained on January 6th, as discussed below.
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        Of the eight officers identified and interviewed by the government, the government appears

to argue that five of them suffered “serious bodily injury.” See ECF No. 62 at 45-46 (citing Officer

M.B., Officer B.R., Officer P.N., Officer J.R., and Sergeant A.W. as officers who suffered “serious

bodily injury”). Mr. Rodriguez addresses the injuries sustained by each of these five officers in turn.

                    1. Officer M.B.

        Officer M.B. is one of the three officers that the government reports sought medical attention,

in support of their argument that her injuries rose to the level of “serious bodily injury,” and not just

“bodily injury.” The government asserts that “Officer M.B. sought medical attention for her injuries,

including consultation with various specialists for a concussion, back pain, knee pain, and swollen

eyes, which she attributed to exposure to multiple chemical irritants.” ECF No. 62 at 23-24. It is

unclear where this information is drawn from, and the government does not offer a cite. Officer M.B.

was interviewed five times between January 6, 2021 and June 30, 2023. During an April 29, 2021

interview with two FBI special agents--her fourth--M.B. reported that she “did not seek medical

treatment.” See Exh. K, Officer M.B. April 29, 2021 302.

        Government Exhibit N-1, an FBI 302 documenting a June 30, 2023 interview with Officer

M.B., states that Officer M.B. “sought medical attention after January 6 for the concussion as well as

for knee pain and back pain. Her eyes were swollen and in pain for three days from the tear gas. As a

result of the events that took place on January 6 and the injuries she endured, [M.B.] is still being

treated regularly by a chiropractor for a pinched nerve.” Gov’t Exh. N-1 at 2. Contrary to the

government’s claim, nowhere in Exhibit N-1, or any other recorded statement by Officer M.B.

provided to the defense, does she report seeking medical attention for swollen eyes; further, she

reports her eyes were swollen due to tear gas, not “multiple chemical irritants.” At best, this is an

oversight or overgeneralization by the government; at worst, the government is affirmatively

misrepresenting the evidence to seek a higher sentence.

         It is possible that although Officer M.B. did not seek any medical treatment during the nearly

 four months after January 6, 2021, she subsequently sought treatment for lingering problems with her

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Officer J.R.’s entire body. J.R. suffered severely blistered hands and sought medical treatment as a

result of that spraying incident, but critically, not as a result of Mr. Rodriguez’s conduct.

        If anything, the dramatically more severe injuries former Officer J.R. suffered as a result of the

subsequent bear spraying in the tunnel, but not as a result of Mr. Rodriguez’s chemical spray, supports

a finding that either (1) the chemical spray Mr. Rodriguez used was not, in fact, bear spray, or (2) that

Mr. Rodriguez did not use the spray in a manner capable of causing serious bodily injury.
                    3. Officer P.N.

        Like former Officer J.R., P.N. was wearing “turtle” gear, including a helmet, visor, protective

padding, and a flame retardant suit. His helmet and visor deflected some of the spray, but he reported

some spray particles got into his mouth, which he described as “burning” and “irritating.” He reported

thinking at the time at the spray was pepper spray. He did not suffer any other immediate reaction to

Mr. Rodriguez’s spray.

        But approximately 20 minutes after Mr. Rodriguez released the spray, Officer P.N. was

assaulted several more times. including by being struck in the head with a blunt object, having his visor

ripped from his helmet, and being sprayed directly in the face with bear spray by another rioter, after

his visor was removed. Officer P.N. suffered a severe and immediate reaction to this unrelated

spraying incident, which led to a seizure. Officer P.N. was brought to the hospital and received medical

treatment there.

        Officer P.N. suffered the worst injuries of all the officers identified by the government. But

because those injuries are not attributable to Mr. Rodriguez’s conduct, an enhancement for serious

bodily injury is inappropriate.

                    4. Other officers




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           None of the other officers suffered injuries that come near the definition of “serious bodily

injury.” No other officer identified by the government even sought medical attention. The officers

were able to flush out their eyes and immediately return to work, so only the 3-point enhancement for

bodily injury should apply. The spray’s effects did not last long, and none of the officers involved

required medical attention for the chemical spray injuries. For these reasons, while Mr. Rodriguez

acknowledges that he caused the officers pain and bodily injury, he did not cause “serious bodily

injury.”

           Indeed, Officer N.D., the only officer named in the documents charging Mr. Rodriguez with

assault, writes in his victim impact statement, “That day had an impact on me but not one that was

detrimental to my health but one that helped it because I knew then and I still know now. Without

the rule of law there would be no democracy, no safe place, and no order.” Gov’t Exh. O-3 at 2.

           In cases similar to Mr. Rodriguez’s, courts have found comparable injuries to only rise to the

level of bodily injury. For example, the Fourth Circuit found a cut lip, “which required a single stitch,”

insufficient to sustain an enhancement for serious bodily injury under § 2A2.2. United States v.

Bryant, 540 Fed. Appx. 241, 250 n.2 (4th Cir. 2014). The Fifth Circuit vacated a sentence after

determining that an officer’s injuries of “lacerations and a mild deviated septum” from being

kicked in the face “did not rise to the level of ‘serious bodily injury.’” United States v. Nunez-

Granados, 546 Fed. Appx. 483, 486 (5th Cir. 2013). The Fifth Circuit specifically noted that the

defendant’s behavior could not be equated with a case in which a defendant “stomp[ed] on his head

repeatedly with boots on” or one in which a defendant “pulled a man out of his car and stomped

on his head repeatedly as he lay on the ground motionless.” Id. at 487.

           In contrast, the Fourth Circuit found serious bodily injury where an officer’s “left eye was

swollen shut, and he received medical treatment…as well as x-rays and treatment at a local hospital

emergency room.” United States v. Hicks, 313 Fed. Appx. 674, 676 (4th Cir. 2009). In addition, that

officer “was relieved of his duty and sent home, as he was unable to perform his job because of the


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swelling and impaired vision.” Id. That injury required the use of sick days and had lingering effects

requiring medical treatment four months after the assault. The “nature and duration” of the injury in

that case were critical to affirming the district court’s finding of serious bodily injury. Id. The Eighth

Circuit found serious bodily injury from a facial injury when the defendant punched the victim in the

face “breaking her jaw and several facial bones, which required oral surgery.” United States v. Steele, 550

F.3d 693, 698 (8th Cir. 2008). The case law clearly indicates that “serious bodily injury” contemplates

more severe injuries than those suffered here.

        In Mr. Rodriguez’s case, the injury required 60-90 seconds to rinse out the officer’s eyes, and

the Government has alleged no long-term effects that would qualify as “protracted impairment.”

Gov’t Exh. O-1, Officer N.D. 302. The officers were not wearing gas masks, but the vast majority—

including the officers standing closest to Mr. Rodriguez—were wearing some protective gear,

including Plexiglass face shields. This is significant because DOJ guidance notes that even a suspect

raising his hands above his face can inhibit the use of OC spray.8 Similarly, the report warns that

“[e]yeglasses, sunglasses, and other protective eyewear and clothing may greatly reduce the

effectiveness of OC sprays.”9 If sunglasses, or even hands, provide significant enough protection to

reduce the potency of the spray, then Plexiglass face shields must also.

        Moreover, the officers themselves were using chemical spray on the crowds as a

countermeasure. Thus, chemical spray was already present in the air without harming officers or

permanently harming the protestors themselves. In addition, while the officers did experience pain, it

was comparable to pain experienced in training, see Gov’t Exh. O-1 at 2, and was not debilitating or

extensive enough to seek medical treatment. Even officers who reported experiencing pain greater




8
  Oleoresin Capsicum: Pepper Spray as Force Alternative, Nat’l. Inst. of Justice Tech. Assess. Prog. (March
1994), available at: https://www.ojp.gov/pdffiles1/nij/grants/181655.pdf.
9
  Id.
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than that experienced in training, like Sergeant O.A.10 or Officer A.Z.,11 reported the pain was the

result of the cumulative effect of many sprays, not Mr. Rodriguez’s spray specifically.

           Because none of the officers identified by the government suffered serious bodily injury, the

Court should decline to apply the § 2A2.4(c)(1) cross-reference to § 2A2.2 because Mr. Rodriguez’s

conduct did not rise to the level of an “aggravated assault,” as defined by the Guideline commentary.
     IV.      The Court should decline to impose a five-level enhancement for serious bodily
              injury under § 2A2.2(b)(3)(B).

           For all the reasons discussed in Section III(c), the Court should decline to impose the five-

level enhancement for serious bodily injury under § 2A2.2(b)(3)(B).
     V.




10
   Sergeant O.A. reported that approximately five to six days after January 6, the skin on his hands
and face began to peel off, and the skin underneath appeared red and dry. He did not seek medical
attention. The description of these injuries, and the lack of medical treatment, sounds more akin to a
bad sunburn than serious bodily injury.
11
   Officer A.Z. reported that Mr. Rodriguez’s spray was the first time he was sprayed on January 6th.
He also specifically described the first two times he was sprayed as not being too painful, but the
third caused his entire body to hurt. His hands burned for 2-3 days, but he did not seek medical
attention or take off work.
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      VII.     Conclusion

         Mr. Rodriguez respectfully requests that the Court grant his objections to the PSR, calculate
his Guidelines appropriately under § 2A2.4, and impose a probationary sentence, consistent with the

§ 3553(a) factors.



                                                       Respectfully submitted,

                                                       /s/ Nora K. Hirozawa
                                                       NORA K. HIROZAWA
                                                       Attorney for Mr. Rodriguez
                                                       Federal Defenders of New York, Inc.

Cc:      Will Widman (AUSA)
         Robert Cywinski (PO)




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